      Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 1 of 55 PageID #:1



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

INTELIQUENT, INC.,

                    Plaintiff,

       v.                                          Case No. 16 cv

FREE CONFERENCING CORPORATION,
individually and d/b/a HD TANDEM; HD               COMPLAINT AND JURY DEMAND
TANDEM; WIDE VOICE, LLC; and JOHN
DOES 1-10,

                    Defendants.


            COMPLAINT AND JURY DEMAND UNDER RACKETEER INFLUENCED
                AND CORRUPT ORGANIZATIONS ACT AND OTHER LAWS

       This is Inteliquent’s Complaint for damages, declaratory relief, and injunctive relief

against defendants (i) Free Conferencing Corporation (“Free Conferencing”), individually and

doing business as HD Tandem; (ii) HD Tandem (to the extent it even has a separate corporate

existence from Free Conferencing); (iii) Wide Voice, LLC (“Wide Voice”); and (iv) John Does

1-10. In support of this Complaint, Inteliquent, Inc. (“Inteliquent”), alleges as follows.

                                             Overview

       1.      The defendants knowingly, willingly, and recklessly have engaged and are

continuing to engage in a scheme to cheat Inteliquent of millions of dollars in the form of false

and unnecessary terminating “access charges” included in charges Inteliquent paid them for calls

destined to defendant Free Conferencing. The defendants have committed multiple acts of wire

fraud, theft, and money laundering in furtherance of their fraudulent scheme. This lawsuit seeks

to recover the amounts the defendants have wrongfully taken and to require the defendants to

end their scheme.
      Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 2 of 55 PageID #:2



       2.      The defendants have overlapping ownership, management, and financial interests,

which enables them to act in concert with each other to perpetrate the underlying scheme to

defraud.    Their scheme is nuanced and complex, and requires the detail set forth in this

Complaint to appreciate both its scale and subtleties.          Additional aspects and evidence

demonstrating the scope of their activity will be adduced through discovery. This overview

section aims to explain the general nature of the defendants’ misconduct as it has impacted

Inteliquent.

       3.      Inteliquent is a telecommunications carrier based in Chicago with facilities in

Chicago, Los Angeles, and several other cities that provides local and long distance services. At

issue in this matter are certain of its long distance services. It takes calls from its customers and

delivers them to local exchange carriers (“LECs”) (or intermediary companies serving as proxies

for the LECs), which in turn deliver the calls to the called parties (or “end users” in telecom

lexicon). Inteliquent gets paid by its customers, and then pays the LECs “access charges” for the

LECs’ services in delivering the calls. The dollar amount of access charges Inteliquent must pay

to the LECs or their proxies depends on various factors.          In simplest terms, federal rules

premised on reasonable cost recovery permit access charges that can be higher the more the

called party’s location is rural and the longer the call lasts (there are “mileage” and minutes-of-

use factors). The mileage factors depend on specified coordinates that measure the actual

distance between what is known as a “tandem” switch (where long distance calls meet the local

exchange) and the “end office” switch (the location within the local exchange where calls are

switched and then routed directly to the called party). How the LECs may charge their own

customers on the receiving end (the called parties) depends on other federal rules as well as the

LECs’ federal and state tariffs.




                                                 2
      Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 3 of 55 PageID #:3



       4.      Free Conferencing is (supposedly) a major called party customer of certain LECs

associated with rural locations and telephone numbers in parts of South Dakota.               Free

Conferencing presents itself as a company that offers “free” services like conference calling, chat

lines, and streaming radio. It provides these services to callers that use Inteliquent’s long

distance services. In other words, long distance customers of Inteliquent place calls to Free

Conferencing numbers and receive Free Conferencing’s services.            Free Conferencing has

numerous telephone numbers associated with specific South Dakota rural exchanges that accept

such inbound calls seeking its services. Wide Voice owns some of the key equipment (for

example, in Los Angeles and Chicago) that is used to accept the handoff of traffic from IXCs

like Inteliquent and to route calls to those Free Conferencing numbers, and has supplied

telecommunications equipment that the defendants used to perpetrate the fraud.

       5.      HD Tandem presents itself as one of those intermediaries or proxies that can

facilitate the interconnection and handoff of traffic between Inteliquent and the LECs servicing

called parties like Free Conferencing. HD Tandem and the other defendants signed a contract

with Inteliquent (the “Master Addendum” attached as Exhibit A) in which HD Tandem




                                                    two LECs in South Dakota named Native

American Telecom, LLC, and Native American Telecom—Pine Ridge, LLC (the “Native

American Telecom LECs”). On information and belief, HD Tandem is not certificated by the

Federal Communications Commission or any similar state regulatory agency and has not made

any state or federal regulatory filings that common carriers are required to make.




                                                3
      Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 4 of 55 PageID #:4



       6.      The fraudulent scheme here flows from the nature of calls to Free Conferencing

and the free services it provides to its conference calling, chat line, and radio streaming

customers. Given the nature of those services, calls to Free Conferencing are inherently of

longer duration than typical conversational calls. Because the calls last a long time and are

(supposedly) delivered to rural areas, the LECs associated with the Free Conferencing numbers

can charge higher access charges to the IXCs (like Inteliquent) whose customers place the calls.

Free Conferencing then does not charge its customers for its various services. Instead, it earns

revenue through arrangements with the Native American Telecom LECs to share the high access

charges that those LECs are able to charge the IXCs like Inteliquent whose customers are calling

Free Conferencing. The defendants are charging Inteliquent high rates

                                                                            The most significant

component of those charges is the specified mileage factor—typically known as the “tandem

transport” component—that is based on the actual distance between two designated points (for

the “tandem” and “end office” switches) in South Dakota over which the LECs must transport

the inbound Free Conferencing traffic after receiving the handoff from Inteliquent.1

       7.      The lucrative profitability of the scheme in this Complaint hinges on the ability of

the Native American Telecom LECs to collect some of the highest access charges in the country

for those atypically long calls to Free Conferencing. Further to the illegitimate purpose of

advancing this scheme, Free Conferencing says that it has located certain media server

equipment in South Dakota on the Native American Telecom LECs’ premises. It claims to use

that equipment to provide its various services (a dubious claim) that can be reached through the

South Dakota numbers associated with exchanges run by the Native American Telecom LECs on

1
  As explained below, new Internet-based technologies can offer the “functional equivalent” of
these same services through somewhat different mechanisms.



                                                4
      Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 5 of 55 PageID #:5



tribal reservations near Fort Thompson and Pine Ridge, South Dakota. Because the areas served

by the Native American Telecom LECs are rural, the access charges that those LECs can impose

on IXCs like Inteliquent are generally much higher than in urban locations like Chicago and Los

Angeles where the parties are headquartered and where they actually interconnect. The key

component again is the mileage factor based on the specified distance over the “public switched

telephone network” that the LEC must transport the calls as part of the “tandem transport”

function.

       8.     These factors mean that the access charges Inteliquent would have to pay to the

Native American Telecom LECs—

                            —are inordinately high.      That again is because calls to Free

Conferencing are of longer duration and are associated with numbers in rural areas for which

tandem transport services presumably are required between the tandem switch and the end office.

Since the parties entered into the Master Addendum, Inteliquent has delivered and been charged

for hundreds of millions of minutes to HD Tandem that are destined for Free Conferencing

numbers supposedly associated with the particular South Dakota local exchange areas.

       9.     But the defendants’ actions are all part of a large fraudulent scheme that they have

been perpetrating against the telecommunications industry at large, including now against

Inteliquent. The Master Addendum’s

                                                                                              For

those LECs to charge those rates for any particular call, they would have to be providing

“tandem transport” services between specified points in South Dakota and delivering the traffic




                                               5
      Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 6 of 55 PageID #:6



to legitimate end user customers in South Dakota.2 HD Tandem and Free Conferencing’s

leadership made multiple and specific representations to Inteliquent—made for the purposes of

inducing Inteliquent into signing the Master Addendum and then continuing to operate under

it—that this traffic really was being delivered to South Dakota and that the charged services truly

were being provided.

       10.     None of those functions is being provided and those representations were false.

As it turns out, the actual switching services occur within a short distance (at most a few blocks)

from where Inteliquent connects to HD Tandem (e.g., at the Wide Voice equipment in Los

Angeles or Chicago). All functions beyond those points fall into the separate category of “end

office” functions, not tandem functions. No one is providing Inteliquent the types of tandem

transport services between specified points in South Dakota (or the functional equivalent)

                                                               though the defendants purposefully

and deceptively act and charge as if the Native American Telecom LECs were doing so. On top

of that, Free Conferencing is not even a legitimate end user customer of the Native American

Telecom LECs



       11.     No tandem transport services at all (or their functional equivalents) are being

provided to Inteliquent in South Dakota (or anywhere) for calls to Free Conferencing numbers.

Though the defendants hide these facts, calls to Free Conferencing actually get received by HD

Tandem (through Wide Voice’s equipment) thousands of miles away from South Dakota—in

Los Angeles, Chicago, and possibly other cities. Any services being provided to Inteliquent by

2
 As explained below, because this traffic is what is known as “VoIP” traffic, the charges could
be legitimate if the defendants were providing the “functional equivalent” of the types of services
described here. They are not.




                                                6
      Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 7 of 55 PageID #:7



the defendants are at most “end office” functions (also known in telecom terminology as “line

side” functions) that initiate right after the handoff of traffic (in Los Angeles, Chicago, or

elsewhere) for which much lower rates (if any) would apply. The services provided do not

match the charges imposed or the representations made to Inteliquent to induce it into signing the

HD Tandem agreement.

       12.




       13.     In addition, on information and belief, the media servers used for most if not all of

Free Conferencing’s services are not located in South Dakota (they appear to be in Los Angeles

and Chicago, or other cities, very close to the handoff locations).           To the extent Free

Conferencing does have any media servers in South Dakota that receive calls from Inteliquent

customers, then the defendants’ fraud is even worse. It would be wholly unnecessary to locate

systems in South Dakota when the far more efficient and sensible location would be near the

Wide Voice equipment. The only reason to locate any media servers in South Dakota would be

for the sole reason of trying to find some basis for the defendants or their associated LECs to




                                                 7
      Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 8 of 55 PageID #:8



make a claim of entitlement to high access charges. That is patent overcharging for unnecessary

services.

       14.     There is more.                                                 the Native American

Telecom LECs’ tariffs that, to be lawful, would require Free Conferencing’s arrangements with

those LECs to be sufficiently independent and commercial—i.e., only to the degree that Free

Conferencing could be considered a legitimately separate end user customer purchasing services

like any other end user under the Native American Telecom LECs’ tariffs. But in truth, all of the

defendants along with the Native American Telecom LECs are conjoined and associated in many

direct and indirect ways. Sometimes in whole and sometimes in part, they have common

ownership, investors, executives, and physical locations. They are all in business to profit from

their efforts to charge Inteliquent (and others like it) exorbitant access fees. Free Conferencing is

not a true end user customer. If anything, the Native American Telecom LECs connect to Free

Conferencing through what appears to be the equivalent of a private system outside the public

switched telephone network—which would flatly foreclose those LECs from charging access

fees to anyone.

       15.        As noted, to its profiteering ends, Free Conferencing does not charge many of its

customers anything at all (i.e., the customers who use its calling services). Thus its name is

“Free” Conferencing. Under a particularly aggressive “traffic pumping” business model heavily

frowned upon in the telecommunications industry, it gives them free services for the precise

reason that it wants high volumes of calls that will generate enormous access charges from long

distance carriers. Those charges                                                    are then shared

among the defendants and their cohorts through “marketing arrangements” that Free

Conferencing has with the Native American Telecom LECs. These “marketing arrangements”




                                                  8
      Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 9 of 55 PageID #:9



are not the result of any uncompromised bargaining. They are insular arrangements between and

among related parties created for no purpose other than to find a hook to divide and share the

proceeds from high access charges. Those arrangements are gimmicks.

       16.     HD Tandem is likewise not some kind of independent and credible intermediary

that could legitimately interpose itself between Inteliquent and Free Conferencing or the Native

American Telecom LECs. On information and belief, HD Tandem is not a distinct corporate

entity at all. It is an alter ego of Free Conferencing promoting itself under a different business

name to present a false air of independence and credibility. Free Conferencing is a Nevada

corporation. HD Tandem claims to be a California corporation, but no available public record

from California supports that claim.

       17.     The main function of the Master Addendum appears to be a laundering effort,

through which the defendants try to use HD Tandem as a vehicle to remove the compensation

arrangements for traffic destined to Free Conferencing out of the regulated context (where it

could be even more heavily scrutinized) and into the private commercial context. As explained

below, the premise of the Master Addendum




meaning that the very premise on which Inteliquent entered into the agreement was false.

       18.     The facts in the foregoing paragraphs are not easy to discover. The defendants

take careful and deliberate steps to conceal their misconduct. They shield the location of

telecommunications equipment and computer servers that actually sit in places like Los Angeles




                                                9
    Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 10 of 55 PageID #:10



and Chicago (not South Dakota), they launder their scheme in the form of a seemingly legitimate

commercial contract with a supposedly genuine entity in HD Tandem, they engage in dilatory

litigation tactics to resist efforts to bring their network architecture to light (as has happened

recently in separate litigation in South Dakota), they exaggerate the need for and role of

equipment (if any) in South Dakota, and they make repeated explicit and false representations to

Inteliquent that their network and billing practices are appropriate and support the lawful

imposition of these charges.

       19.     The defendants do not tell the truth. Their representations to Inteliquent on the

key facts here have been deliberately false. Each invoice Inteliquent has received and paid for

services under the Master Addendum has been riddled with illegal overcharges and sent over the

interstate wires. In short, the defendants and their associated cohorts employ a “business” model

that entices calls of long duration to be made to Free Conferencing numbers, bilk money out of

long distance carriers like Inteliquent, and share those ill-gotten gains.     They are “traffic

pumpers” of the worst possible kind.

       20.     This is racketeering activity of the first order. The defendants are perpetrating

this scheme in furtherance of an association-in-fact enterprise consisting of (i) defendant Free

Conferencing and Yakfree, which are companies that provide services like conferencing calling,

chat lines, and radio streaming to telephone consumers; (ii) defendant HD Tandem, Free

Conferencing’s alter ego designed to present a false air of credibility and to avoid the express

requirements of rates specified in regulatory tariffs; (iii) Native American Telecom and Native

American Telecom—Pine Ridge in South Dakota; (iv) defendant Wide Voice, a company with

telecommunications facilities in Los Angeles and Chicago (and other possible locations) whose

equipment facilitates the defendants’ activity; (v) one or more key individuals working




                                               10
    Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 11 of 55 PageID #:11



specifically with these other parties to achieve these ends; and (vi) on information and belief,

several currently unidentified co-conspirators that will be added to this lawsuit as facts are

developed and their identities become known. The defendants are also flatly breaching the

Master Addendum,

                     and in their implied covenant to act in good faith.

       21.     This racketeering activity is open-ended and continuous. It encompasses the

defendants’ business practices covering multiple years, with a specific direction toward

Inteliquent since 2015. It continues to date and will continue indefinitely into the future unless

stopped in this action.

       22.     It is possible that additional parties and claims may be added to this case as

discovery proceeds. The scheme also reflects the defendants’ business model applied to the

industry at large.    There are undoubtedly other victims besides Inteliquent, and detailed

descriptions of the impact of the racketeering scheme on other victims in the industry will be

added to this one as the case proceeds. In its current format, this Complaint focuses primarily on

the traffic being exchanged between Inteliquent and HD Tandem that is directed to Free

Conferencing numbers in certain South Dakota exchanges. But there are other exchanges in

other states and other numbers that are also generating heavy amounts of traffic under the Master

Addendum. Discovery may show that the scheme as directed against Inteliquent goes much

farther than just the traffic directed to Free Conferencing. This Complaint addresses the scheme

as it is understood as of this point, but Inteliquent anticipates that discovery may show that other

entities are involved and that the scheme has additional components.




                                                 11
    Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 12 of 55 PageID #:12



       23.     This Court’s intervention is needed. Inteliquent seeks declaratory, monetary, and

injunctive relief to remedy the harm that the defendants have inflicted and will continue to inflict

upon it if their activities are unchecked.

                                             The Parties

       24.     Plaintiff Inteliquent is a Delaware corporation with its principal place of business

in Chicago, Illinois. Its business includes serving other telecommunications companies in a

variety of capacities.

       25.     Defendant Free Conferencing Corporation is a Nevada corporation with its

principal place of business in Long Beach, California.             Free Conferencing is not a

Telecommunications Carrier, Common Carrier, or Local Exchange Carrier as defined in the

Communications Act of 1934. Its key personnel include or have included David Erickson

(President, Secretary, Treasurer, and Director), Josh Lowenthal (Chief Operating Officer), Scott

Southron (Chief Financial Officer), Eugene Tcipnjatov (Chief Technology Officer), and Jeff

Holoubek (until November 2015, Director of Legal and Finance). Its majority owner is the

Erickson Family Trust.       As detailed below, Free Conferencing is a party to the Master

Addendum contract with Inteliquent, a copy of which is attached to this Complaint as Exhibit A

and incorporated by reference.       Free Conferencing does business throughout the country,

including in Chicago.

       26.     HD Tandem purports to be a corporation organized and operating under the laws

of the State of California. It is not. Free Conferencing’s representatives have painted a false

picture to Inteliquent that HD Tandem is a stand-alone entity. HD Tandem has no independent

corporate existence. It is an alternative business name and alter ego of Free Conferencing. Its

Internet domain name was registered by Ambuj K. Nayar, a Free Conferencing employee who




                                                 12
    Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 13 of 55 PageID #:13



identifies himself as HD Tandem’s Executive Vice President. HD Tandem purports to be a party

to the Master Addendum. Although HD Tandem holds itself out as being authorized to provide

its services, on information and belief it does not hold a certificate from the Federal

Communications Commission or any similar state regulatory agency and has not made any state

or federal regulatory filings that common carriers are required to make.

       27.     Defendant Wide Voice, LLC is a Nevada limited liability company with its

principal place of business in Las Vegas, Nevada. It has a California address at the same

location as Free Conferencing. Jeff Holoubek was its Director of Legal and Finance until

November 2015. Andrew Nickerson is its Chief Executive Officer (and also the President of the

Native American Telecom LECs, as described below).           As Native American Telecom has

informed the United States District Court for the District of South Dakota, Wide Voice owns and

operates telecommunications network equipment at One Wilshire Boulevard in Los Angeles and

in Chicago (and possibly in other cities) that is used to facilitate the scheme described in this

Complaint. Wide Voice is a Local Exchange Carrier as defined in the Communications Act of

1934 and allegedly provides local exchange services in North Dakota, California, Massachusetts,

New York, Florida, Pennsylvania, and Nevada.

       28.     John Does 1-10 are unnamed co-conspirators of the defendants whose

involvement and culpability will be determined through discovery.

                                  Non-Party Co-Conspirators

       29.     Native American Telecom, LLC is a limited liability company organized under

the laws of the Crow Creek Sioux Tribe with its principal place of business in Fort Thompson,

South Dakota. Wide Voice owns a substantial minority share in Native American Telecom.

Until November 2015, Mr. Holoubek likewise was its President and a board member, and was




                                               13
    Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 14 of 55 PageID #:14



materially involved in decisions concerning its relationship with Free Conferencing.       The

majority of Mr. Holoubek’s compensation came from Free Conferencing (where he served as

Director of Legal and Finance), not Native American Telecom. Andrew Nickerson now serves

as the President of Native American Telecom and is also the CEO of Wide Voice. David

Erickson (identified below) has been a board member of Native American Telecom.

       30.    Native American Telecom—Pine Ridge, LLC is a limited liability company

organized under the laws of the Oglala Sioux Tribe with its principal place of business in Pine

Ridge, South Dakota. Jeff Holoubek has been listed as its registered agent and, on information

and belief, likewise served it in an executive and board level capacity. Andrew Nickerson is

currently its President.   The majority of Mr. Holoubek’s compensation came from Free

Conferencing, not Native American Telecom—Pine Ridge.

       31.    Yakfree LLC is a California limited liability company with its principal place of

business in Long Beach, California. Yakfree is not a Telecommunications Carrier, Common

Carrier, or Local Exchange Carrier as defined in the Communications Act of 1934. Yakfree is a

party to the Master Addendum. Its registered agent is Joshua Lowenthal and its CEO is David

Erickson.

       32.    David Erickson is the founder, president, and CEO of Free Conferencing. The

Erickson Family Trust is the majority owner of Free Conferencing and a minority owner of Wide

Voice. Directly or indirectly, and through that family trust, Mr. Erickson has or directs a

substantial interest in each of the named defendants. He is also a board member of Native

American Telecom and Native American Telecom—Pine Ridge.




                                              14
     Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 15 of 55 PageID #:15



                                       Jurisdiction and Venue

        33.     This Court has subject matter jurisdiction over this action pursuant to 18 U.S.C.

§ 1964, 28 U.S.C. § 1331, and 28 U.S.C. § 1367.

        34.     This Court likewise may issue declaratory relief under 28 U.S.C. § 2201.

        35.     Venue is proper in this judicial district pursuant to 18 U.S.C. § 1965 and 28

U.S.C. § 1391 because the defendants are subject to personal jurisdiction in this judicial district

and the defendants conduct substantial business in this district. Inteliquent is based in this

district and all invoices and charges for the services that are part of this fraudulent scheme were

directed to Inteliquent in Chicago. Wide Voice also has telecommunications equipment in

Chicago that is used to perpetrate the scheme.

                                         Factual Allegations

A.      The General Telecommunications Framework

        36.     Among other things, Inteliquent is a long distance carrier, referred to in

telecommunications industry terminology as an “interexchange carrier” or “IXC.” Its customers

typically consist of other carriers, which in turn have end user customers who make long distance

telephone calls. Those carriers (i.e., Inteliquent’s customers) deliver those calls to Inteliquent.

On behalf of its customers, Inteliquent then delivers those long distance calls to local exchange

carriers, which in turn are supposed to transport that traffic and deliver it to their legitimate end

user customers (i.e., the persons or entities that receive calls).

        37.     Under the traditional “public switched telephone network” (“PSTN”), an IXC

carries its customers’ long distance traffic to a local geographic area served by a LEC. The IXC

pays the LEC “terminating access charges” for the LEC’s services in taking the traffic from the

IXC and delivering it to the ultimate end user. These access charges consist of several distinct




                                                   15
    Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 16 of 55 PageID #:16



components that the LEC must specify in tariffs filed with the Federal Communications

Commission (“FCC”).

       38.     Among these distinct components of terminating access charges can be a fee for

“switching” functions where the handoff of traffic occurs between the long distance and local

segments (often known as the “tandem” switching fee), a “tandem transport” charge for delivery

from the tandem to the LEC’s “end office” facility (often tagged to specific real-world miles

designated as the distance between the tandem and end office facilities), and specified “end

office” rates for the services the LEC provides at its end office for switching and final delivery of

the traffic from the end office and to the end user. The transport charges between the tandem

switch (where the long distance carrier hands off the traffic in the PSTN) and the LEC’s end

office switch typically have a mileage component, while the other charges are either time-based

(linked to “minutes of use” based on the call duration) or flat fees.3

       39.     Because some of these access charge components depend on the duration of the

call, longer-lasting calls will generate higher access charges to be paid by the IXC to the LEC.

In addition, the services that LECs provide to switch and deliver calls in rural areas may involve

higher costs than in urban areas because of more dispersed customer locations. Longer calls and

calls delivered to rural areas thus generally will have comparably higher access charges.

       40.     A local exchange carrier may not impose access charges on a long distance carrier

if the supposed end-user customer of the LEC (in this case, Free Conferencing) is not a true and

legitimate customer. Traffic delivered to sham entities cannot be the basis for access charges.

Qwest Commc’ns. v. Farmers & Merchants Mut. Tel. Co., 24 FCC Rcd 1480 (2009); In the

3
  It is possible that these components at the point where the IXC hands off the traffic may be
provided by more than one entity. For example, one entity may provide tandem switching
services, another may provide transport from the tandem switch to the end office, and another
may provide end office services.



                                                 16
     Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 17 of 55 PageID #:17



Matter of Total Telecommc’ns Servs. v. AT&T Corp., 16 FCC Rcd. 5726 (2001). An entity that

receives free service from a LEC is not an end user under the Communications Act of 1934. In

the Matter of Qwest Commc’ns, LLC v. N. Valley Commc’ns, LLC, 26 FCC Rcd. 8332 (2011). A

local carrier likewise generally cannot impose access charges for calls that are terminated to

private networks. The calls must be terminated over the PSTN.

       41.     Additionally, under longstanding law, a LEC can only charge an IXC under the

LEC’s tariff for services the LEC actually performs. A LEC cannot collect for its tariffed

functions if its network does not perform those functions as set forth in the tariff. See, e.g.,

AT&T Corp. v. YMax Commc’ns Corp., 26 FCC Rcd. 5742, ¶¶ 36-42 (2001). This rule applies

irrespective of whether calls use traditional technology or VoIP.

       42.     In some situations, an IXC like Inteliquent may sign a commercial contract with

an intermediary company (not the LEC) that agrees to take the traffic from Inteliquent and make

arrangements with LECs for all of the switching and transport that must occur after the handoff

from the IXC. In this situation, the intermediary will charge the IXC according to the terms of

the commercial contract and the intermediary will then pay the LEC as required under the tariffs.

Such a commercial contract, in turn, can                             specifically base its rates on

components of the LEC’s tariffed rates. If the tariffs do not support the charges, then neither can

a commercial contract that depends upon the tariffs.

B.     Voice Over Internet Protocol

       43.     In recent years, telecommunications technologies have advanced to the point that

many calls are no longer transmitted via the traditional PSTN methods. They instead are

transmitted using a mechanism known as “voice over Internet protocol” (“VoIP”). The calls

involved in this Complaint use VoIP technology. With VoIP service, regular “analog” voice




                                                17
    Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 18 of 55 PageID #:18



calls are converted into digital signals, transmitted by “packet technology” over broadband

Internet pathways (as opposed to the PSTN), and then delivered to the end user (whether and

when they are converted back into analog signals depends on various factors). The physical

topography of how VoIP calls traverse telecommunications networks and travel from the calling

party to the called party can vary (in small or large degrees) from the traditional PSTN.

Precisely where the analog/digital conversions occur and how the technology operates can vary

depending on the particular carriers involved, as can the location where the handoffs occur

between IXCs and LECs.

       44.     Some aspects of the locations of VoIP calls may be “virtual” as opposed to

mechanical. For example, “switching” can be done using different types of computers and

software that direct the broadband signals over the Internet, as opposed to analog calls being

physically switched through the equipment used for regular voice calls over the PSTN. VoIP

calls may also be handed off from the IXC to the terminating LEC at locations outside the LEC’s

area and then transmitted over the Internet by the LEC (or parties acting on its behalf) to the end

user in the LEC’s area.

       45.     But these “virtual” functions are immaterial for present purposes of this

Complaint. The same compensation rubrics that would apply to PSTN calls will—for purposes

of this case—apply to VoIP calls, so long as the services that a carrier provides with VoIP

technologies actually occur and are “functionally equivalent” to the services that would apply

over the traditional PSTN. At least for the time being, and as relevant to this dispute, the basic

tariffed framework for payment of access charges and the means by which carriers compensate

each other remains effectively in place. If the called party has a telephone number associated




                                                18
     Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 19 of 55 PageID #:19



with a particular LEC, the call is delivered to that LEC and is ultimately switched and delivered

by the LEC to the end user.

       46.     Consistent with these points, Free Conferencing itself has taken the position that

VoIP service should be considered indistinguishable from traditional services, so long as the

VoIP service provides the “functional equivalent” of the traditional services. (See Second

Amended Complaint, Free Conferencing Corp. v. Comcast Corp., No. 2:15-cv-4076, Doc. 55, ¶¶

20-23 (C.D. Cal., filed April 1, 2016).)   Native American Telecom has done the same, having

filed a tariff with the FCC that states: “Pursuant to 47 CFR § 51.913, all Toll VoIP-PSTN traffic

will be assessed switched access charges at the same rates set forth in this tariff for the

functionally equivalent traffic whether it be VoIP-VoIP, TDM–TDM, or any other traffic

distinguished by its underlying technology and/or method of transmission, at rates set forth in

Section 3 of this tariff.” (Native American Telecom Tariff FCC No. 3 at 1st Revised Page 25

(emphasis added).) Native American Telecom—Pine Ridge has the same provision in its FCC

tariff. (Native American Telecom–Pine Ridge Tariff FCC No. 3 at 1st Revised Page 25.)

C.     Traffic Pumping (or Access Stimulation)

       47.     Free Conferencing and similar businesses offer services to telephone customers

that involve calls of frequently long duration. Examples of these services include conference

services, chat lines, and live radio streaming of programs like religious services and news shows.

A customer calls into a particular number associated with Free Conferencing, the call connects to

a Free Conferencing media server, and then the customer receives the service sought (a chat line,

streaming radio, or a conference call).

       48.     Free Conferencing does not charge its calling customers for its services (or

charges them virtually nothing). The services are effectively “free” to the callers who use them.




                                               19
    Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 20 of 55 PageID #:20



       49.     Free Conferencing instead makes money in the following manner. It establishes

arrangements in which it purposefully secures telephone numbers associated with LECs in rural

areas (like in tribal reservations in South Dakota). To use the conferencing services, an IXC’s

customers dial long distance calls to those Free Conferencing numbers.            The IXC (like

Inteliquent) delivers the long distance call to the LEC associated with the telephone number

(e.g., in South Dakota), the call arrives at the point of interconnection (e.g., a tandem switch),

and the LEC supposedly provides tandem transport services and end office services, ultimately

delivering the call to Free Conferencing. At that point, Free Conferencing provides the caller

with its services.4 As noted, these calls may involve VoIP, in which case the “virtual” functions

performed are (or must be) the functional equivalent to those described in this paragraph.

       50.     In what is known as “traffic pumping” or “access stimulation,” Free

Conferencing’s arrangements are deliberately designed to authorize the applicable LEC to charge

the IXC with high terminating access charges. Free Conferencing sets up its services which

cause callers to make long distance calls of long duration to numbers associated with a LEC in a

rural area (and thus a LEC able to charge higher access charges). The lack of any charge from

Free Conferencing naturally incentivizes callers to use its services. The LEC then shares with

Free Conferencing a substantial portion of the revenues it receives as access charges from the

IXC. The terms of this sharing between the LEC and the access stimulator are typically set forth

in so-called “marketing” arrangements in which the conference calling company receives some

portion of the access charges the IXC pays to the LEC. Free Conferencing likewise may share

revenues with other customers to which it provides service or makes its conferencing, chat line,

or radio streaming available.

4
 For conference calling services, other callers go through the same steps and the callers seeking
conference services are connected to each other through the conferencing platform.



                                               20
    Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 21 of 55 PageID #:21



       51.     In other words, Free Conferencing earns substantial revenue by receiving a cut of

the (high) terminating access charges that the LEC receives from the IXC. As Free Conferencing

recently stated to the United States District Court for the Central District of California:

               Free Conferencing’s business focuses on providing conference calling
               services without charging organizer fees to the party hosting the calls.
               Under its business model, local phone companies known as local
               exchange carriers (“LECs”) are willing to pay Free Conferencing, as well
               as other subscribers whose services generate a relatively high volume of
               telephone traffic, to direct some traffic to the LECs’ locations.

(Second Amended Complaint, Free Conferencing Corp. v. Comcast Corp., No. 2:15-cv-4076,

Doc. 55, ¶ 15 (C.D. Cal., filed April 1, 2016) (emphasis added).)

       52.     Free Conferencing uses computer media servers and other equipment to provide

its services. It has taken the position in the United States District Court for the District of South

Dakota that this conferencing equipment is in effect the “end user” (i.e., equivalent to a person

who receives calls), and therefore that the LEC serving this “end user” is entitled to impose

access charges (which generally are chargeable only where calls go to paying customers). These

servers and other equipment are, of course, physical devices that must be located somewhere.

       53.     Precisely where Free Conferencing locates its equipment is not easy to detect. In

litigation in the United States District Court for the District of South Dakota, Native American

Telecom has averred that Free Conferencing locates some equipment at the LEC’s end office

(e.g., at a location in South Dakota collocated inside the Native American Telecom facilities).

Whether Free Conferencing has any significant equipment in those locations, the far more

sensible location to provide its voluminous traffic (serving hundreds of millions of minutes of

traffic per month) would be for that equipment to be a very short distance (the same building or

within a few blocks) from the location where the IXC is understood to handoff the traffic to the

entities that ultimately deliver the traffic to Free Conferencing. On information and belief, the




                                                 21
    Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 22 of 55 PageID #:22



equipment (if any) that Free Conferencing claims to house in South Dakota is wholly insufficient

for the full range of services it claims to provide. Substantial equipment must be elsewhere—

most likely collocated with or immediately adjacent to the Wide Voice equipment.

       54.     Under the applicable tariffs, the LEC then charges the IXC for access charges,

including transport services that are supposed to cover (under the tariff) specified distances more

than 100 miles inside a rural portion of South Dakota. The LEC charges the IXC for the full

terminating access charges under the tariff (including the mileage-based transport component)

and then shares the resulting revenues with Free Conferencing under their marketing

arrangements. The IXC thus pays terminating access charges that include a mileage-based

transport component for services that the LEC (supposedly) performed, and the LEC shares those

gains with Free Conferencing. But imposition of these access charges is only appropriate if the

traffic is terminated to an end user.

       55.     Free Conferencing’s President and CEO has testified that this is Free

Conferencing’s line of business:

               While I believe that Sprint’s preferred “traffic pumping” terminology is
               pejorative, I am not opposed to the term “access stimulation,” which has
               been adopted by the FCC in its rules that were released at the end of 2011.

(Declaration of David Erickson, Sprint Commc’ns Co. L.P. v. Native American Telecom, LLC, et

al., No. 4:10-cv-04110, Ex. B to Doc. 150-2, ¶ 14 (D.S.D., filed April 18, 2012).)

       56.     Free Conferencing then purportedly executes agreements with its affiliated LECs

to share access charge revenues generated when the LECs are on the receiving end of calls that

carry high access charges.

       57.     Regulators and others have given increasing levels of scrutiny to these types of

arrangements, which are known as “traffic pumping” or “access stimulation” models. Free




                                                22
     Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 23 of 55 PageID #:23



Conferencing likes to claim that the Federal Communications Commission has generally

approved these arrangements. That is not true. The Federal Communications Commission has

acknowledged the need to “curtail wasteful arbitrage practices” of this kind. It has decried this

activity as “one of the most prevalent arbitrage activities today.” In the Matter of Connect

America Fund, 27 FCC Rcd. 4040 ¶¶ 33, 649 (F.C.C. 2011). Its website states:

               Access stimulation is harmful to consumers and competition in a number
               of ways. First, it distorts investment incentives. As a result of an access
               stimulation scheme, the long distance companies are forced to recover the
               inflated access costs from all of their customers, even though many of
               them do not use the services that caused the stimulation in demand. It also
               harms competition by giving companies that offer, for instance, free
               conference calling services a competitive advantage against companies
               that charge their customers for the service.

www.fcc.gov/general/traffic-pumping.

       58.     As explained throughout this Complaint, the traffic-pumping scheme perpetrated

by these defendants is wholly illegitimate.

D.     The Tariff Structures of the Native American Telecom LECs and Wide Voice

       59.     Native American Telecom and Native American Telecom—Pine Ridge publish

the following tariffed rates for access charges.

               a.      Switched Transport Service usage charges of $.000240 per minute
                       for tandem switch transport, termination; $.000030 per mile for
                       tandem switch transport, facilities; and $.000036 per minute for
                       common transport multiplexing. (Native American Telecom Tariff
                       FCC No. 3 at 1st Revised Page 86; Native American Telecom—
                       Pine Ridge Tariff FCC No. 3 at 1st Revised Page 86.)

               b.      End Office usage charges for termination traffic of $.000807 per
                       minute for local switching and $.000306 per minute for common
                       trunk port charges. (Native American Telecom Tariff FCC No. 3
                       at 2d Revised Page 87; Native American Telecom—Pine Ridge
                       Tariff FCC No. 3 at Revised Page 87.)




                                                   23
    Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 24 of 55 PageID #:24



       60.      These LECs may charge those rates “only when a specific rate element is used.”

(Native American Telecom Tariff FCC No. 3 at Original Page 80; Native American Telecom—

Pine Ridge Tariff FCC No. 3 at Original Page 80.) In other words, the tariffs forbid the LECs

from charging the rate components if the services are not provided. As explained, that is the law

in any event.

       61.      Both tariffs define the “End Office access service category” as follows:

                The End Office access service category includes: (1) The switching of
                calls at the Company’s End Office Switch and the delivery of such calls to
                or from the called party’s premises; (2) The routing of calls to the called
                party’s premises, either directly or via contractual or other arrangements
                with an affiliated or unaffiliated provider of interconnected VoIP service
                or a non-interconnected VoIP service that does not itself seek to collect
                switched access charges, regardless of the specific functions provided or
                facilities or technology used; or (3) Any functional equivalent of the
                incumbent local exchange carrier End Office access service provided by
                the Company via analogous services.

                End Office access service, or its functional equivalent, includes the
                following rate elements:           Local Switching—Originating, Local
                Switching—Terminating, Common Trunk Port, Interconnection Charge,
                Information Surcharge, and Dedicated Trunk Port charges. The End
                Office rate category is composed of the rate elements set forth below [in
                the tariff] based on the functions performed.

(Native American Telecom Tariff FCC No. 3 at 1st Revised Page 72; Native American

Telecom—Pine Ridge Tariff FCC No. 3 at 1st Revised Page 72.)

       62.      Native American Telecom also publishes a “Composite Rate” for termination

traffic of $.004719, which requires that Native American Telecom transport the traffic 111 miles

between the tandem switch and Native American Telecom’s End Office in Kimball, South

Dakota, “measured as airline mileage using the V&H coordinates method in accordance with

standard industry practices.” The description of the Composite Rate expressly states that it

“includes … Tandem Switched Transport – Facility (per mile).”            When Native American




                                                24
    Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 25 of 55 PageID #:25



Telecom charges an IXC the Composite Rate, over 70% of the charge relates to a mileage

element ($.00333/$.004719). (Native American Telecom Tariff FCC No. 3 at 84 & n.1.) The

111 miles must be a real-world actual distance of tandem transport services (or their functional

equivalent).

       63.     Native American Telecom—Pine Ridge similarly publishes a Composite Rate for

termination traffic of $.009879, which requires that Native American Telecom—Pine Ridge

transport the traffic 283 miles between the tandem switch and Native American Telecom—Pine

Ridge’s End Office in Pine Ridge, South Dakota, “measured as airline mileage using the V&H

coordinates method in accordance with industry practices.” The description of the Composite

Rate again expressly states that it “includes … Tandem Switched Transport – Facility (per

mile).” When Native American Telecom—Pine Ridge charges an IXC the Composite Rate, over

85% of the charge relates to a mileage element ($.00849/$.009879).             (Native American

Telecom—Pine Ridge Tariff FCC No. 3 at 84 & n.1.) The 283 miles must be a real-world actual

distance of tandem transport services (or their functional equivalent).

       64.     Unquestionably implicit within the Composite Rates that the Native American

Telecom LECs publish in their tariffs is the representation that they legitimately provide—and

therefore can charge for—the miles of transport services described in their tariffs. If they do not

provide it, they cannot charge for it.

       65.     The Native American Telecom LECs receive extraordinarily high numbers of

minutes of termination traffic from IXCs each month. The vast majority of that traffic is routed

to Free Conferencing numbers. These entities have very few if any local voice customers, and

those that they have claimed exist (in other litigation) appear to be connected to the LECs’

networks on materially different terms than Free Conferencing (if at all). These local voice




                                                25
    Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 26 of 55 PageID #:26



customers further appear to actually be served by other LECs through wholesale arrangements

rather than using the network equipment of the Native American Telecom LECs.

          66.   In fact, the Native American Telecom LECs’ tariffs grant them the sole discretion

on whether to actually bill end user customers such as Free Conferencing. The Native American

Telecom LEC’s tariffs contain identical language, which provides as follows:

                In the event Company, in its sole discretion, chooses to forgo billing customer for
                access services in any particular month(s), Company reserves the right to back bill
                customer for any unbilled recurring or non-recurring charges for a period of
                twenty-four (24) months.

(Native American Telecom Tariff FCC No. 3 at Original Page 45; Native American Telecom—

Pine Ridge Tariff FCC No. 3 at Original Page 45.)

          67.   The Wide Voice tariff contains identical language. (Wide Voice, LLC Tariff FCC

No. 3 at Original Page 39.) Upon information and belief, the Wide Voice and the Native

American Telecom LEC’s have not consistently billed entities such as Free Conferencing for

services allegedly provided under the tariffs.

          68.   In this case, the arrangement between Free Conferencing and the involved LECs

to share access charges is not the result of a neutral and fair negotiation between independent

actors.    It is part of an orchestrated plan among entities that (as demonstrated above) are

associated in many ways. Free Conferencing has strong affiliations with the LECs that serve it.

Directly or indirectly, it and the other defendants have overlapping executive functions, board

members, and ownership with each other and the LECs. Free Conferencing purposely aligns

itself with the associated LECs in rural locations so that the access charges that get generated by

Free Conferencing’s services will be higher than in more urbanized areas.5



5
 The United States District Court for the District of South Dakota has also held that Native
American cannot charge an IXC (Sprint) for services provided to deliver calls destined for Free



                                                 26
     Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 27 of 55 PageID #:27



E.      The Master Addendum

        69.        Prior to 2015, Inteliquent delivered inconsequential amounts of traffic as an IXC

to the Native American Telecom LECs. The access fees that Inteliquent paid to those LECs thus

were comparably minimal in the aggregate, despite the high rates the LECs charged for each

individual call.

        70.        There also were (and continue to be) circumstances where Inteliquent itself

provided “tandem-switching” services where other IXCs (not Inteliquent) were sending traffic to

the Native American Telecom LECs, under an arrangement where Inteliquent served as the

designated “access homing tandem” for the Native American Telecom LECs.                  Under the

regulatory framework, a LEC can designate a particular party to provide the tandem switching

services necessary for IXCs to establish a point of interconnection with the LECs’ local

networks. This is known as a “homing tandem” arrangement. But in those circumstances, the

traffic coming to Inteliquent’s tandem was long distance traffic being transported to the tandem

by other IXCs. Any mileage-based component in those circumstances would have been paid by

other IXCs (not Inteliquent) to the LECs.

        71.        Inteliquent does not know what rates the LECs charged those IXCs, as any

invoices went directly from the LECs to the IXCs. Inteliquent generally understands that some

other IXCs have had disputes with one or more of the defendants on the amounts that the

defendants could charge for access fees, and their arrangements are now governed by

confidential settlement terms.




Conferencing, on the ground that Free Conferencing was not an actual paying customer of the
LEC. Sprint Commc’ns Co. L.P. v. Crow Creek Sioux Tribal Court, 121 F. Supp. 3d 905, 918-
19 (D.S.D. 2015). (This ruling was under a predecessor tariff.)



                                                  27
    Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 28 of 55 PageID #:28



       72.     The essential elements of the defendants’ scheme have been in place for multiple

years. The defendants’ conduct in furtherance of this particular aspect of their illegal enterprise

dates back at least to 2009 and potentially even before then. Events in roughly the past year have

seen the defendants adapt and modify their larger scheme and direct it specifically at Inteliquent

through the use of HD Tandem and the Master Addendum.

       73.     The defendants’ conduct began to effectuate noticeable harm upon Inteliquent

once Inteliquent itself began delivering substantial volumes of its own customers’ long distance

traffic destined to Free Conferencing numbers. Inteliquent’s role as an IXC delivering its own

customers’ long distance traffic to the Native American Telecom LECs expanded only recently.

       74.     In mid-2015, Inteliquent agreed with a separate wireless phone company (not a

party here) to carry that company’s long distance traffic (i.e., Inteliquent serves as the long

distance company when that wireless company’s callers make long distance calls). Inteliquent

understood that some of that traffic would be destined for numbers associated with the Native

American Telecom LECs and where Free Conferencing was the called party. By that time, there

was open litigation involving other carriers against the Native American Telecom LECs, where

parties were debating the legitimacy of access charges for traffic destined to the Native American

Telecom LECs (particularly to numbers associated with Free Conferencing). As a precaution,

Inteliquent sought specific confirmation from representatives of the defendants and the Native

American Telecom LECs that the access charges were for legitimate services being delivered to

South Dakota through properly chargeable means. Inteliquent received repeated and express

assurances from the defendants that they were entirely legitimate.

       75.     These assurances included multiple specific references prior to and after

execution of the Master Addendum that Inteliquent would only be charged for legitimate




                                                28
    Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 29 of 55 PageID #:29



services actually performed. These assurances came from Joshua Lowenthal of HD Tandem and

Free Conferencing to John Schoder of Inteliquent in (i) the summer of 2015 (before the Master

Addendum was executed), and (ii) in April 2016 at the telecommunications industry

“Encompass” trade show in Las Vegas.             Free Conferencing’s representatives have been

adamant—repeatedly—in representations to Inteliquent that their services are legitimate. Free

Conferencing’s representatives made repeatedly clear that traffic dialed to the South Dakota

numbers in South Dakota was being delivered to locations in South Dakota and over pathways

that supported the imposition of the high access charges that Inteliquent would have to pay.

Inteliquent justifiably relied on those forceful representations.

       76.     These assurances lulled Inteliquent into a false sense of security. It justifiably

relied on the truthfulness of the Free Conferencing representatives. With no reason to believe

anything improper was occurring, Inteliquent entered into the Master Addendum, effective

October 22, 2015. The parties to the Master Addendum contemplated that Inteliquent would not

terminate its own IXC traffic to the Native American Telecom LECs through Inteliquent’s own

tandem switch, but instead would hand off the traffic to HD Tandem.




                                                 29
      Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 30 of 55 PageID #:30



         77.   The pertinent part of the Master Addendum thus provides:




(Ex. A ¶ 3 (emphasis added).)6

         78.   Other provisions in the Master Addendum




                                                                               (Ex. A

§ 7 (emphasis added).)

         79.   Under the Master Addendum,




6
    The parties amended the Master Addendum on January 27, 2016,




                                              30
    Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 31 of 55 PageID #:31




       80.     During August 2015, Inteliquent began to carry increasingly more traffic destined

for Free Conferencing. In roughly October 2015, Josh Lowenthal and Andrew Nickerson of the

defendants complained to Inteliquent that Inteliquent had miscalculated the access fees owed to

the defendants. According to that complaint, Inteliquent should have delivered traffic to HD

Tandem

                                                                      By raising that complaint, the

defendants again represented to Inteliquent that it was necessary and reasonable to charge the

rates being charged because of the services the Native American Telecom LECs actually were

providing. As part of a settlement of that dispute, Inteliquent began to deliver traffic to Native

American Telecom and Native American Telecom—Pine Ridge numbers through HD Tandem.

       81.     For the month of November 2015, Inteliquent delivered at least 331,061,502

minutes of traffic to the defendants and their associated or affiliated entities through the Master

Addendum, believing it should be charged no more than (if not significantly less than) the rates

supposedly justifiable under the terms of the Master Addendum. More than 90 million of those

minutes were destined for numbers associated with the Native American Telecom LECs. As part

of the scheme described in this Complaint, the defendants transmitted the bills for these services

to Inteliquent by use of the interstate wires, including emails to Inteliquent on December 3, 2015,

December 7, 2015, and December 18, 2015. The emails originated from the defendants in Long

Beach, California; Las Vegas, Nevada; and Sioux Falls, South Dakota, and were sent to

Inteliquent and its billing agent in Chicago, Illinois, and Fairfax, Virginia.




                                                  31
    Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 32 of 55 PageID #:32



       82.     For the month of December 2015, Inteliquent delivered at least 270,252,907

minutes of traffic to the defendants and their associated or affiliated entities through the Master

Addendum, believing it should be charged no more than (if not significantly less than) the rates

supposedly justifiable under the terms of the Master Addendum. More than 70 million of those

minutes were destined for numbers associated with the Native American Telecom LECs. As part

of the scheme described in this Complaint, the defendants transmitted the bills for these services

to Inteliquent by use of the interstate wires, including emails to Inteliquent on January 7, 2016,

January 8, 2016, and January 21, 2016. The emails originated from the defendants in Long

Beach, California; Las Vegas, Nevada; and Sioux Falls, South Dakota, and were sent to

Inteliquent and its billing agent in Chicago, Illinois, and Fairfax, Virginia.

       83.     For the month of January 2016, Inteliquent delivered at least 229,379,734 minutes

of traffic to the defendants and their associated or affiliated entities through the Master

Addendum, believing it should be charged no more than (if not significantly less than) the rates

supposedly justifiable under the terms of the Master Addendum. More than 74 million of those

minutes were destined for numbers associated with the Native American Telecom LECs. As part

of the scheme described in this Complaint, the defendants transmitted the bills for these services

to Inteliquent by use of the interstate wires, including emails to Inteliquent on February 4, 2016,

February 6, 2016, February 22, 2016, and February 23, 2016. The emails originated from the

defendants in Long Beach, California; Las Vegas, Nevada; and Sioux Falls, South Dakota, and

were sent to Inteliquent and its billing agent in Chicago, Illinois, and Fairfax, Virginia.

       84.     For the month of February 2016, Inteliquent delivered over 75,000,000 minutes of

traffic to Native American Telecom and Native American Telecom—Pine Ridge allegedly

through HD Tandem. As part of the scheme described in this Complaint, HD Tandem




                                                  32
     Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 33 of 55 PageID #:33



transmitted the bills for these supposedly justified services to Inteliquent by email on March 4,

2016. This bill was transmitted from HD Tandem in Long Beach, California, to Inteliquent in

Chicago, Illinois.

       85.     For the month of March 2016, Inteliquent delivered 67,194,054 minutes of traffic

to Native American Telecom and Native American Telecom—Pine Ridge allegedly through HD

Tandem. As part of the scheme described in this Complaint, HD Tandem transmitted the bills

for these supposedly justified services to Inteliquent by email on April 6, 2016. This bill was

transmitted from HD Tandem in Long Beach, California, to Inteliquent in Chicago, Illinois.

       86.     Each of those invoices, in whole or in part, charged Inteliquent for services that

were improper and unlawful for the reasons described in this Complaint.

       87.     Inteliquent paid each of the foregoing invoices through an electronic payment.

The defendants deposited the amounts that Inteliquent paid into bank accounts.

       88.     Inteliquent continues to deliver traffic destined to Free Conferencing numbers

allegedly through HD Tandem, and still is being billed at the inappropriate rates.

       89.     The above examples of charges to Inteliquent are not meant to be exhaustive and

only reflect the portions of the overall scheme involving Free Conferencing calls to numbers

associated with the Native American Telecom LECs. As explained, Inteliquent anticipates that

the misconduct may extend to services involving other LECs and other dialed numbers, and

reserves all rights to amend this Complaint as more information comes to light.

F.     The False Transport Scheme

       90.     Inteliquent has been wrongly charged and continues to be wrongly charged.

Through its own dealings with Free Conferencing and through filings that Native American

Telecom has made to the United States District Court for the District of South Dakota,




                                                33
    Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 34 of 55 PageID #:34



Inteliquent now understands that the traffic it delivers to HD Tandem under the Master

Addendum is delivered to defendant Wide Voice in Los Angeles and Chicago (and possibly

other cities). This means that (a) Inteliquent is receiving no tandem transport services that any

applicable LEC could provide; (b) the most Inteliquent could be charged would be an end-office

rate (far lower than the rates it is being charged); and (c) any claim by HD Tandem or Free

Conferencing that Inteliquent is being charged for transport in South Dakota is patently false.

This information is based in considerable measure on the best available public information.

Additional discovery will be required to elicit further evidence showing the defendants’ scheme.

       91.     On information and belief, the bulk of the media servers and other equipment

used by Free Conferencing to provide its services are not located in South Dakota at all, but must

be proximate to the Wide Voice equipment in Los Angeles or Chicago (or possibly other cities).

It would make no economic or technological sense to install those media servers in South

Dakota, as the defendants would have to incur massive and unnecessary costs to carry the traffic

to South Dakota, with the further risk that call quality would deteriorate over the long distance

travelled. If the defendants claim that this is what they are doing (incurring those costs), then the

only reason to put the bulk of the equipment in South Dakota would be to find some hook to be

able to charge high access charges. That hook would be insufficient anyway, because the

functions beyond the Wide Voice equipment are “line side” (end office) functions anyway

(meaning no tandem transport component could be justifiably charged).

       92.     A simple review of the equipment in the Native American Telecom territory

confirms that Free Conferencing cannot have substantial portions of its media servers and other

equipment located there. According to information supplied by Free Conferencing itself in

litigation in South Dakota, it collocates some equipment with Native American Telecom




                                                 34
    Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 35 of 55 PageID #:35



equipment in the Fort Thompson area. But there is insufficient physical space in the specified

Native American Telecom facilities to house the equipment necessary to provide the services

that Free Conferencing would claim are being provided when Native American Telecom

numbers are called.      Public information by Native American Telecom on its own website

showing the relatively sparse equipment at its Fort Thompson location confirms that there is no

physical way that Free Conferencing’s media servers sufficient to provide its services could be

located there.    On information and belief, the same would be true for Native American

Telecom—Pine Ridge.

       93.       The defendants have used the Master Addendum to take their traffic pumping

model outside the direct scope of tariff regulation by housing it within a commercial contract.

This step enabled the defendants to avoid immediate regulatory oversight and to circumvent

tariff-based litigation like they have faced in South Dakota.

       94.       To entice Inteliquent into using this arrangement, the defendants




       95.       The defendants presented HD Tandem as a seemingly independent and neutral

party that would take the traffic from Inteliquent and see to the eventual delivery to the LECs.

The use of this intermediary cast a false air of legitimacy and credibility to the arrangement. HD

7




                                                35
     Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 36 of 55 PageID #:36



Tandem presented itself as a distinct entity from Free Conferencing that would serve as an

intermediary

                          . In the various contractual documents, HD Tandem represented itself

as a California corporation with its principal place of business in Long Beach.

        96.    In short: (i) calls to Free Conferencing are handed off to HD Tandem at Wide

Voice’s facilities in Los Angeles, Chicago, or Miami, and any services provided beyond those

locations are end office functions and do not involve tandem transport services (or their

functional equivalent); (ii) no “applicable LEC” could or does provide tandem transport services

to Inteliquent for such calls; (iii) calls to end users associated with Native American Telecom

and Native American Telecom—Pine Ridge evidently do not go to Free Conferencing facilities

supposedly located in South Dakota (and if they somehow do, then the defendants are charging

for wholly unnecessary transport); and (iv) there is no “functional equivalent” of the hundreds of

miles of transport services that the LECs would need to be providing to charge the transport

component of the access charges.

G.      The Sham Customer

        97.    Free Conferencing is not a legitimate end user that has the kind of arrangement

with the LECs that would permit the LECs to impose tariffed access charges on IXCs for calls

going to it.

        98.    Under the Master Addendum,




That question, in turn, depends on whether Free Conferencing can legitimately be said to have




                                                36
    Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 37 of 55 PageID #:37



subscribed to the Native American Telecom LECs’ services like any other customer. It has not

done so.

       99.     Free Conferencing does not pay any meaningful amount to the Native American

Telecom LECs for services.

       100.    The Native American Telecom LECs do not treat Free Conferencing like other

customers. To the extent there are any Free Conferencing media servers on Native American

Telecom premises, no other conferencing calling companies’ equipment could be physically

accommodated.

       101.    Free Conferencing has an effectively exclusive relationship with the Native

American Telecom LECs for the services provided to it.

       102.    The Native American Telecom LECs handle Free Conferencing traffic differently

than they handle other customers’ traffic.

       103.    The Native American Telecom LECs and the other defendants have arrangements

with Free Conferencing that do not resemble traditional arrangements for their tariffed services.

In many respects, these arrangements appear to create what is essentially a private network for

Free Conferencing, as to which access charges cannot apply.

       104.    For example, under telecommunications industry terminology, the first six digits

of a phone number are the area code and the prefix, denoted NPA-NXX. The NPA-NXX of 605-

477 is used in Native American Telecom’s local exchange by Free Conferencing. Yet those

numbers cannot be dialed—not even in the local Fort Thompson area—without incurring a toll

charge. “Normal” local customers in the Fort Thompson area actually have telephone numbers

that start with 605-245 but are served by a switch provided by Midstate Communications out of

Kimball, South Dakota. In other words, despite that the 605-477 numbers have the appearance




                                               37
     Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 38 of 55 PageID #:38



of a local phone number when within the local area, they are always toll numbers (so calls to

them always generate access charge revenues to the schemers).

       105.    On information and belief, the Native American Telecom LECs have not

complied with certain of their obligations regarding required Universal Service fund

contributions for some or all of the period since the Master Addendum has been in effect.

       106.    Local customers in the Native American Telecom LECs service areas cannot

complete calls to Free Conferencing over local numbers. The numbers are always toll calls.

Free Conferencing is not a typical local end user customer.

H.     The Defendants’ Concealment

       107.    The defendants and the non-party co-conspirators have engaged in an elaborate

effort to conceal their scheme. Their efforts include:

               a.      Falsely representing to Inteliquent that traffic destined for Free

                       Conferencing is legitimately terminated in South Dakota;

               b.      Falsely representing to Inteliquent that Native American Telecom and

                       Native American Telecom—Pine Ridge—

                                                —perform transport services in South Dakota as

                       provided in their respective tariffs;

               c.      Requiring Inteliquent to accept artificial rates with, and transfer traffic to,

                       a fictitious entity that is the alter ego of Free Conferencing;

               d.      Implying that HD Tandem is a legitimate California corporation that has

                       an existence separate and distinct from Free Conferencing, when in fact it

                       is the same entity;




                                                 38
     Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 39 of 55 PageID #:39



              e.




              f.      Billing access fees to Inteliquent,

                            implying that the Native American Telecom LECs provide transport

                      services that they do not actually provide;

              g.      Publicly and privately representing that the Native American Telecom

                      LECs perform End Office services in South Dakota but concealing that all

                      “trunk side” services related to the traffic are provided in Los Angeles and

                      Chicago; and

              h.      Establishing switches to serve Free Conferencing in the immediate

                      proximity of access tandems, rather than in South Dakota.

I.     Inteliquent’s Reliance on the Defendants

       108.   Inteliquent has relied on the defendants to provide accurate billing statements that

present legitimate charges for services actually rendered and necessary. Inteliquent would not

have paid or have agreed to pay HD Tandem or the Native American Telecom LECs any

amounts for services not actually provided. Inteliquent’s reliance was reasonable.

J.     Use of the Interstate Wires

       109.   As detailed above, the defendants repeatedly use the interstate wires to effectuate

their scheme. Their invoices described above are sent from California to Chicago by electronic

means. The entirety of their business and the scheme described here involves use of the




                                               39
     Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 40 of 55 PageID #:40



interstate wires, as the business itself involves interstate exchange and delivery of

telecommunications traffic over the PSTN and Internet broadband pathways.

K.     Theft/Larceny

       110.    Under Illinois law, 720 ILCS 5/16-1(a)(2), a person commits theft “when he or

she knowingly . . . [o]btains control over property of another by deception.” Each act of billing

and accepting payment from Inteliquent as described in this Complaint has been an act of theft

under Illinois law by the defendants.

       111.    Under California Penal Code 484-502.9, a person commits theft “who shall

knowingly and designedly, by any false or fraudulent representation or pretense, defraud any

other person of money[.]” Each act of billing and accepting payment from Inteliquent as

described in this Complaint has been an act of theft under California law by the defendants.

L.     The Traffic Pumping Enterprise

       112.    The defendants and the non-party co-conspirators are associated-in-fact and form

an enterprise whose activities affect interstate commerce.

       113.    The enterprise is referred to in this Complaint as the “Traffic Pumping Enterprise”

or the “Enterprise.” It exists to enable the defendants to charge Inteliquent the equivalent of

terminating access charges for services that the defendants falsely represent that they provide but

do not in fact provide. The Enterprise profits from the collection and sharing of terminating

access charges received for transport services that are not actually provided.

       114.    Defendant HD Tandem is associated with the Enterprise as it is the alter ego for

Free Conferencing. It serves as the contractual vehicle through which the defendants seek to

evade the rule that Inteliquent cannot be charged under tariffs for services that the applicable




                                                40
    Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 41 of 55 PageID #:41



LEC did not perform. It sends invoices to Inteliquent that seek to impose charges for services

never performed.

       115.    Defendant Free Conferencing is associated with the Enterprise as it shares the

terminating access fees that the Native American Telecom LECs receive from IXCs for transport

services that they do not provide. It likewise shares moneys received from Inteliquent under the

Master Addendum                                            . It does not charge the vast majority

of its actual customers for any services it provides to them. Its business model thus is wholly

dependent on and profits from the ability of the defendants to continue to charge high transport

rates for services they do not provide.

       116.    Defendant Wide Voice is associated with the Enterprise as it is a party to the

Master Addendum that serves as a vehicle to perpetuate the fraud, has the aforementioned

connections to other parties associated with the Enterprise, and owns and operates equipment in

Los Angeles and Chicago (and possibly other cities) that is used to perpetuate the defendants’

scheme.

       117.    Non-party co-conspirator Yakfree is associated with the Enterprise.           On

information and belief, it shares terminating access fees that the Native American Telecom LECs

receive from IXCs for transport services that they do not provide and it likewise shares moneys

received from Inteliquent under the Master Addendum. On information and belief, it does not

charge its actual customers for any services it provides to them. On information and belief, its

business model is wholly dependent on the ability of the defendants to continue to charge for

services they do not provide.




                                              41
     Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 42 of 55 PageID #:42



           118.   Non-party co-conspirator David Erickson is associated with the Enterprise as an

owner, partner, shareholder, member, or executive of each of the other defendants and as the

primary orchestrator of the scheme.

           119.   Non-party co-conspirator Native American Telecom is associated with the

Enterprise as it has the various aforementioned connections to other parties associated with the

Enterprise, shares terminating access charges with Free Conferencing, and is one of the entities

                                                      purportedly providing transport services that

are not in fact provided.

           120.   Non-party co-conspirator Native American Telecom—Pine Ridge is associated

with the Enterprise as it has the various aforementioned connections to other parties associated

with the Enterprise, shares terminating access charges with Free Conferencing, and is one of the

entities                                                          purportedly providing transport

services that are not in fact provided.

           121.   Each of the defendants is further associated with each other and the Enterprise

through the various ways they are directly and indirectly associated or affiliated with each other,

as described throughout this Complaint. As explained, it is further anticipated that other entities

may be directly or indirectly associated or affiliated with the defendants and involved in the

scheme.

           122.   Representatives of many of the defendants and non-party co-conspirators have

explicitly acknowledged the association among several of these entities.

           123.   For example, Jeff Holoubek simultaneously served as the President of Native

American Telecom, the registered agent for Native American Telecom—Pine Ridge, the

Director of Legal and Finance for Free Conferencing, and the Director of Legal and Finance for




                                                 42
     Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 43 of 55 PageID #:43



Wide Voice and HD Tandem. In his “Linked In” biography available in 2016, he referred to a

“Free Conferencing Corporation conglomerate of companies” and defined them together by the

acronym “FCC.” He stated: “For the past seven years, I have served as Director of Legal

Affairs for the Free Conferencing Corporation conglomerate of companies including, Free

Conference Call (Conference Calling), Free Conference Call Global (International Conference

Calling), StartMeeting (Screen Sharing and Video Conferencing), Wide Voice (Carrier

Operations), Wyde Voice (Technology), and HD Tandem (Traffic Transit) (‘FCC’).” (Emphasis

added.)

M.        Money Laundering

          124.   It is a crime under 18 U.S.C. § 1956 to conduct financial transactions involving

the proceeds of unlawful activity.

          125.   The defendants have violated this statute each time they have billed and accepted

payment from Inteliquent as described in this Complaint and, on information and belief, have

deposited those proceeds in financial institutions.

                                             Count I
                              Violation of RICO, 18 U.S.C. § 1962(c)
                                     (Against All Defendants)

          126.   The allegations of all the foregoing and following paragraphs are incorporated by

reference as if fully set forth in this paragraph.

          127.   The Traffic Pumping Enterprise is an enterprise engaged in and whose activities

affect interstate commerce. The defendants are employed by or associated with the Enterprise.

          128.   The defendants agreed to and did conduct and participate in the conduct of the

Enterprise’s affairs through a pattern of racketeering activity and for the unlawful purpose of

intentionally defrauding Inteliquent.




                                                     43
    Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 44 of 55 PageID #:44



          129.   Pursuant to and in furtherance of their scheme, each of the defendants committed

numerous and related acts of wire fraud, including the use of the interstate wires in connection

with the receipt of millions of minutes of IXC calls from Inteliquent and the corresponding use

of the wires to share revenues improperly received from Inteliquent under the Master Addendum.

          130.   Pursuant to and in furtherance of the illegal scheme, the defendants made use of

the interstate wires to send invoices to Inteliquent improperly charging rates that include a false

transport component, as detailed above.

          131.   Pursuant to and in furtherance of the illegal scheme, defendant Wide Voice

allowed use of its facilities in One Wilshire Boulevard, Los Angeles, California, for the receipt

of millions of minutes of interstate calls from Inteliquent and other IXCs. Each such receipt of

an IXC call is a use of the interstate wires in furtherance of the scheme.

          132.   The acts set forth above relating to the use of the interstate wires violate 18 U.S.C.

§ 1343 and constitute a pattern of racketeering activity pursuant to 18 U.S.C. § 1961(5).

          133.   The acts set forth above relating to the theft in violation of Illinois and California

law constitute a pattern of racketeering activity pursuant to 18 U.S.C. § 1961(5).

          134.   The acts set forth above relating to money laundering violate 18 U.S.C. § 1956

and constitute a pattern of racketeering activity pursuant to 18 U.S.C. § 1961(5).

          135.   The acts set forth above involves open-ended continuity as the term is used in the

context of 18 U.S.C. § 1962. The defendants’ scheme has been in place for multiple years, has

been directed against Inteliquent specifically since the execution of the Master Addendum in

October 2015, and is continuing to date and for the foreseeable future unless checked by this

action.




                                                  44
    Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 45 of 55 PageID #:45



        136.    The defendants have directly and indirectly conducted and participated in the

conduct of the Enterprise’s affairs through the pattern of racketeering and activity described

above, in violation of 18 U.S.C. § 1962(c).

        137.    As a direct and proximate result of the defendants’ racketeering activities and

violations of 18 U.S.C. § 1962(c), Inteliquent has been injured in its business and property in the

overcharges that it has been billed for and has paid under the Master Addendum, and Inteliquent

will continue to be injured absent relief from this Court.

        WHEREFORE, Inteliquent requests that this Court declare that the defendants are

violating 18 U.S.C. § 1962(c) and enter judgment against the defendants, including for treble

damages, attorney’s fees, and an order requiring the defendants to cease billing Inteliquent for

any services not actually performed, as well as any other relief that may be available to remedy

the defendants’ actions.

                                         Count II
                Conspiracy to Violate RICO in Violation of 18 U.S.C. § 1962(d)
                                  (Against All Defendants)

        138.    The allegations of all the foregoing and following paragraphs are incorporated by

reference as if fully set forth in this paragraph

        139.    As set forth above, the defendants agreed and conspired to violate 18 U.S.C.

§ 1962(c).

        140.    The defendants have intentionally conspired and agreed to conduct and

participate, directly and indirectly, in the conduct of the affairs of the Enterprise through a

pattern of racketeering activity.




                                                    45
    Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 46 of 55 PageID #:46



         141.   The defendants knew that their predicate acts were part of a pattern of

racketeering activity and agreed to the commission of those acts to further the schemes described

above.

         142.   Each defendant has committed multiple predicate acts of racketeering in the form

of wire fraud as described above. Each such act is also an overt act in furtherance of the

conspiracy.

         143.   Each defendant has committed an overt act in furtherance of the conspiracy that

has injured Inteliquent and that constitutes a predicate act under the RICO statute.

         144.   Each defendant agreed to and is a party to the Master Addendum, which is a

significant component of the defendants’ scheme. Each defendant further agreed to the scheme

as reflected in their numerous conjoined activities, their overlapping and interconnecting

leadership, their agreement to share access charge revenues, and their agreement to share

revenues from the charges that Inteliquent pays under the HD Tandem agreement.

         145.   Defendants HD Tandem and Free Conferencing have sent numerous bills over

interstate wires to Inteliquent that falsely overcharge Inteliquent for services not rendered.

         146.   Defendant Wide Voice permits the use of its equipment on each telephone call

that is part of the scheme against Inteliquent.

         147.   Inteliquent has been injured by the overt acts, including by the billings presented

to it by Free Conferencing and HD Tandem that falsely represent that Inteliquent’s IXC calls

were legitimately transported as well as the defendants’ sharing of revenues paid by Inteliquent

under the Master Addendum.

         148.   The defendants’ conduct constitutes a conspiracy to violate 18 U.S.C. § 1962(c),

in violation of 18 U.S.C. § 1962(d).




                                                  46
     Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 47 of 55 PageID #:47



        149.    As a direct and proximate result of the defendants’ conspiracy and racketeering

activities and violations of 18 U.S.C. § 1962(d), Inteliquent has been injured in its business and

property in the overcharges that it has been billed for and has paid under the Master Addendum,

and Inteliquent will continue to be injured absent relief from this Court.

        WHEREFORE, Inteliquent requests that this Court declare that the defendants are

violating 18 U.S.C. § 1962(d) and enter judgment against the defendants, including for treble

damages, attorney’s fees, and an order requiring the defendants to cease billing Inteliquent for

any services not actually performed, as well as any other relief that may be available to remedy

the defendants’ actions.

                                           Count III
                               Fraud and Fraud in the Inducement
                                    (Against All Defendants)

        150.    The allegations of all the foregoing and following paragraphs are incorporated by

reference as if fully set forth in this paragraph.

        151.    Defendants Free Conferencing Corporation and HD Tandem have concealed the

network architecture involved in delivering calls to Free Conferencing and have misrepresented

                                                                        .

        152.    These misrepresentations were made in the direct oral representations described

above that led to the formation of the Master Addendum.

        153.    The defendants have compounded and expanded upon their misrepresentations in

the Master Addendum’s

                    and in the bills submitted to Inteliquent under the Master Addendum

                                                          .




                                                     47
     Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 48 of 55 PageID #:48



        154.     The defendants knew and intended that Inteliquent would enter into the Master

Addendum lacking knowledge that

                                                           .

        155.     The defendants knew and intended that Inteliquent would be deceived into

believing that



        156.     In executing the Master Addendum, Inteliquent reasonably and justifiably relied

on the defendants’ false representations and concealments of fact.

        157.     In paying bills submitted to it under the Master Addendum, Inteliquent reasonably

and justifiably relied on the defendants’ false representations and concealments of fact.

        158.     Inteliquent has been damaged in an amount to be proved at trial, which is at least

equal to the rates and charges it has paid under the Master Addendum for services that were

never rendered.

        WHEREFORE, Inteliquent requests that the Court enter judgment against defendants and

award Inteliquent damages in an amount to be proved at trial and that continues to accrue, along

with punitive damages as well as any other relief that may be available to remedy the defendants’

actions.

                                             Count IV
                                        Breach of Contract
                                      (Against All Defendants)

        159.     The allegations of all the foregoing and following paragraphs are incorporated by

reference as if fully set forth in this paragraph.

        160.     The Master Addendum is a valid and enforceable contract.




                                                     48
    Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 49 of 55 PageID #:49



        161.    Contracts, including the Master Addendum, contain an implied covenant of good

faith and fair dealing.

        162.    Under the terms of the Master Addendum,



                                                                          (Ex. A ¶ 3 (emphasis

added).)

        163.    Inteliquent has been charged and continues to be charged a rate higher than the

Master Addendum permits.

        164.    The defendants have not complied with their covenant to act in good faith in

performing the rate terms of the Master Addendum.

        165.    The improper charging applies to any instance under the Master Addendum where

Inteliquent is charged more than the end office rates.

        166.    For example, the tariffed                    for Native American Telecom and

Native American Telecom—Pine Ridge amount to                per minute.

        167.    Because Free Conferencing is not a legitimate end user customer of the Native

American Telecom LECs, no



        168.    Free Conferencing and HD Tandem have charged, and continue to charge,

Inteliquent rates for traffic destined for Native American Telecom that exceed the permissible

amounts under the Master Addendum.

        169.    Inteliquent likewise has been charged more than the end office rates for traffic

destined to other LECs.




                                                49
     Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 50 of 55 PageID #:50



        170.     Any payment by Inteliquent under the Master Addendum has been under actual

and constructive protest.

        171.     Free Conferencing and HD Tandem have materially and substantially breached

the Master Addendum, causing Inteliquent damages as set forth in this Complaint.

        WHEREFORE, Inteliquent requests that the Court declare that the Master Addendum

prohibits the defendants from charging Inteliquent any amounts above the end office rates of the

applicable LECs, enter judgment against the defendants, and award Inteliquent damages in an

amount that continues to accrue and as proven at trial.

                                            Count V
                             Unfair Competition (California Statute)
                                    (Against All Defendants)

        172.     The allegations of all the foregoing and following paragraphs are incorporated by

reference as if fully set forth in this paragraph.

        173.     The defendants knew and intended that Inteliquent would be deceived into

believing that



        174.     Cal. Bus. & Prof. Code § 17200 makes unlawful fraudulent business acts or

practices, and unfair, deceptive, untrue, or misleading advertising.

        175.     Each defendant is a “person” as defined by Cal. Bus. & Prof. Code § 17201.

        176.     By holding themselves out as providing various telecommunications services to

different intended customer groups in California, including IXCs like Inteliquent, the defendants

affect commerce and trade within the State of California.

        177.     The defendants violated, and continue to violate, Cal. Bus. & Prof. Code

§§ 17200, et seq. by concealing the network architecture actually involved in delivering traffic to




                                                     50
        Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 51 of 55 PageID #:51



Free Conferencing and misrepresenting the services are actually provided to Inteliquent under

the Master Addendum.

          178.   The defendants knew and intended that Inteliquent would be deceived into

believing that



          179.   The actual services a LEC provides pursuant to various rate elements under a

tariff are material facts upon which IXCs rely.

          180.   Acting as a reasonable IXC, Inteliquent would never have paid mileage-based

transmission facility charges or a fee based on mileage-based transmission facility charges had

Inteliquent known that

          181.   As a direct and proximate result of these unfair, deceptive, and unconscionable

practices, Inteliquent has suffered damages in the form of fees it would not otherwise have paid

to the defendants (i.e., Restitution Damages).

          182.   Inteliquent also seeks the recovery of attorney’s fees pursuant to Cal. Code of

Civ. P. § 1021.5, which awards such fees to a prevailing plaintiff that obtains relief benefitting

the general public. The defendants have effectively shifted the cost of doing “free” business onto

the unwitting customers of Inteliquent and other IXCs through fraudulent and inflated access

fees.

          WHEREFORE, Inteliquent requests that the Court enter judgment against the defendants

and award Inteliquent damages and all relief available under Cal. Bus. & Prof. Code §§ 17200, et

seq., including all compensatory and monetary relief permitted by the statute as well as

attorney’s fees, as well as any other relief that may be available to remedy the defendants’

actions.




                                                  51
     Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 52 of 55 PageID #:52



                                           Count VI
                               Unfair Competition (Illinois Statute)
                                    (Against All Defendants)

        183.    The allegations of all the foregoing and following paragraphs are incorporated by

reference as if fully set forth in this paragraph.

        184.    The Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS

505/1 et seq., prohibits fraud, unfair methods of competition, and unfair or deceptive practices in

the conduct of trade or business.

        185.    The defendants have engaged in deceptive acts and practices.

        186.    The deceptive acts were material.

        187.    The defendants intended that Inteliquent rely on their deceptions.

        188.    The deceptions occurred in the course of conduct involving trade and commerce.

        189.    Inteliquent suffered actual damages from the deception.

        190.    The deception imposes harms upon the public and consumers at large, especially

those paying for Inteliquent’s services.

        191.    Inteliquent is based in Illinois and substantial portions of the defendants’ actions

were directed at Inteliquent in Illinois.

        WHEREFORE, Inteliquent requests that the Court enter judgment against the defendants

and award Inteliquent damages and all relief available under the Illinois Consumer Fraud and

Deceptive Business Practices Act, including all compensatory and monetary relief permitted by

the statute as well as attorney’s fees, as well as punitive damages to the fullest extent available.




                                                     52
     Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 53 of 55 PageID #:53



                                            Count VII
                                        Unjust Enrichment
                                      (Against All Defendants)

        192.     The allegations of all the foregoing and following paragraphs are incorporated by

reference as if fully set forth in this paragraph.

        193.     The defendants have concealed the Native American Telecom LECs’ network

architecture and misrepresented the services that Native American Telecom and Native

American Telecom—Pine Ridge actually provide to Inteliquent.

        194.     The defendants knew and intended that Inteliquent would be deceived into

believing that



        195.     Inteliquent was unaware of the falsity of the defendants’ representations.

        196.     Inteliquent would never have paid mileage-based transmission facility charges or

a fee based on mileage-based transmission facility charges had Inteliquent known that the



        197.     The defendants have acquired and retained money belonging to Inteliquent as a

result of their wrongful conduct. Each bill paid by Inteliquent generates ill-gotten profit to the

defendants at Inteliquent’s expense.

        198.     Under the principles of equity, the defendants should not be allowed to keep the

money belonging to Inteliquent because the defendants unjustly received it as a result of

unlawful actions.

        199.     Inteliquent seeks Restitution Damages for the defendants’ unlawful conduct.

        WHEREFORE, Inteliquent requests that the Court enter judgment against the defendants

and award Inteliquent damages and all relief available to Inteliquent as a result of the defendants




                                                     53
    Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 54 of 55 PageID #:54



becoming unjustly enriched at Inteliquent’s expense, as well as any other relief that may be

available to remedy the defendants’ actions.

                                          Count VIII
                                       Civil Conspiracy
                                    (Against All Defendants)

       200.    The allegations of all the foregoing and following paragraphs are incorporated

herein by reference.

       201.    The defendants agreed to perpetrate the scheme against Inteliquent.

       202.    The defendants agreed on the objective and method to perpetrate their scheme.

       203.    The scheme was unlawful.

       204.    Each defendant committed an overt act in furtherance of the scheme.

       205.    Inteliquent has been injured by the conspiracy.

       WHEREFORE, Inteliquent requests that the Court enter judgment against the defendants

and award Inteliquent damages and all relief available to Inteliquent as a result of the conspiracy,

as well as any other relief that may be available to remedy the defendants’ actions.

                                          Trial By Jury

       Inteliquent demands trial by jury on all Counts where trial by jury is available.




                                                54
    Case: 1:16-cv-06976 Document #: 1 Filed: 07/05/16 Page 55 of 55 PageID #:55



Dated:
Dated: July
       July 1,
            5, 2016
               2016                    INTELIQUENT, INC.



                                       By:   /s/ John Hamill

                                       John J. Hamill (ARDC # 6217530)
                                       Eric M. Roberts (ARDC # 6306839)
                                       Olesya Salnikova Gilmore (ARDC # 6313887)
                                       DLA PIPER LLP (US)
                                       203 North LaSalle Street, Suite 1900
                                       Chicago, Illinois 60601
                                       312.368.7036
                                       john.hamill@dlapiper.com
                                       eric.roberts@dlapiper.com
                                       olesya.salnikova@dlapiper.com


                                       Brian H. Benjet (pro hac vice pending)
                                       DLA PIPER LLP (US)
                                       1650 Market Street, Suite 4900
                                       Philadelphia, PA 19103
                                       215.656.3311
                                       brian.benjet@dlapiper.com




                                        55
